(Rev. 10/19) SLG Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                            for the
                                                       District of Alaska

            SOUTHCENTRAL FOUNDATION                            )
                             Plaintiff                         )
                                v.                             )      Civil Action No. 3:17-cv-00018-TMB
ALASKA NATIVE TRIBAL HEALTH CONSORTIUM                         )
                            Defendant                          )

                                              JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have been tried and the
jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The issues have been
tried or determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

THAT the plaintiff take nothing, that the action be dismissed on the merits, and that the defendant recover of
plaintiff defendant's costs of action in the amount of $_______________ and attorney's fees in the amount of
$_                  with postjudgment interest thereon at the rate of __1.54% as provided by law.




APPROVED:

s/Timothy M. Burgess
Timothy M. Burgess
United States District Judge
                                                                                  Jennifer A. Gamble
Date: December 18, 2019                                                            Jennifer A. Gamble
                                                                                  Acting Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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